       Case 3:24-cv-01304-MMC         Document 96    Filed 04/08/25    Page 1 of 15



 1   David L. Anderson (SBN 149604)                 Caroline Wong (Admitted pro hac vice)
     dlanderson@sidley.com                          caroline.wong@sidley.com
 2   Sheila A.G. Armbrust (SBN 265998)              SIDLEY AUSTIN LLP
     sarmbrust@sidley.com                           One South Dearborn
 3   Nicole M. Ryan (SBN 175980)                    Chicago, IL 60603
     nicole.ryan@sidley.com                         Telephone: (312) 853-7000
 4   Sarah E. Gallo (SBN 335544)
     sgallo@sidley.com
 5   Chaddy Georges (SBN 335546)
     cgeorges@sidley.com
 6   SIDLEY AUSTIN LLP
     555 California Street, Suite 2000
 7   San Francisco, CA 94104
     Telephone: (415) 772-1200
 8

 9   Attorneys for Plaintiffs Parag Agrawal,
     Ned Segal, Vijaya Gadde, and Sean Edgett
10

11                               UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13                                  SAN FRANCISCO DIVISION

14   PARAG AGRAWAL, NED SEGAL,                      Case No. 3:24-cv-01304-MMC
     VIJAYA GADDE, and SEAN EDGETT,
15                                                  STIPULATION AND [PROPOSED]
                                                    ORDER RE: DISCOVERY OF
16                Plaintiffs,                       ELECTRONICALLY STORED
                                                    INFORMATION
17         vs.

18   ELON MUSK; X CORP., f/k/a TWITTER, INC.;
     TWITTER, INC. CHANGE OF CONTROL
19   AND INVOLUNTARY TERMINATION
     PROTECTION POLICY; TWITTER, INC.
20   CHANGE OF CONTROL SEVERANCE AND
     INVOLUNTARY TERMINATION
21   PROTECTION POLICY; LINDSAY
     CHAPMAN; BRIAN BJELDE; AND
22   DHRUV BATURA,

23                Defendants.

24

25

26
27

28

       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
           Case 3:24-cv-01304-MMC         Document 96       Filed 04/08/25      Page 2 of 15



 1            Plaintiffs Parag Agrawal, Ned Segal, Vijaya Gadde, and Sean Edgett, on the one hand, and

 2   Defendants Elon Musk, X Corp., the Twitter Inc. Change of Control and Involuntary Termination

 3   Protection Policy, the Twitter Inc. Change of Control Severance and Involuntary Termination

 4   Protection Policy, Lindsay Chapman, Brian Bjelde, and Dhruv Batura, on the other hand, stipulate as

 5   follows:

 6   I.       PURPOSE

 7            This Order will govern discovery of electronically stored information (“ESI”) in this case

 8   as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines for the Discovery

 9   of Electronically Stored Information, and any other applicable orders and rules.
10   II.      COOPERATION

11            The Parties are aware of the importance the Court places on cooperation and commit to

12   cooperate in good faith

13   III.     LIAISON

14            The Parties have identified liaisons to each other who are and will be knowledgeable about

15   and responsible for discussing their respective ESI. Each e-discovery liaison will be, or have access

16   to those who are, knowledgeable about the technical aspects of e-discovery, including the location,
17   nature, accessibility, format, collection, search methodologies, and production of ESI in this matter.

18   The Parties will rely on the liaisons, as needed, to confer about ESI and to help resolve disputes

19   without court intervention.

20   IV.      GENERAL

21            1.     The Parties shall take reasonable steps to comply with the procedures set forth in this

22   Order.

23            2.     This Order is intended to streamline production to promote a “just, speedy and

24   inexpensive determination” of this action, as required by Federal Rule of Civil Procedure 1.

25            3.     To the extent reasonably possible, the production of documents shall be conducted to

26   maximize efficient and quick access to documents and minimize related discovery costs. The terms
27   of this Order shall be construed so as to ensure the prompt, efficient, and cost-effective exchange of

28
                                                        1
          STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                        CASE NO. 3:24-CV-01304-MMC
          Case 3:24-cv-01304-MMC          Document 96        Filed 04/08/25       Page 3 of 15



 1   information consistent with the Federal Rules of Civil Procedure, the Local Rules, and any orders by

 2   this Court.

 3           4.     Except as specifically limited herein, this Order governs the production of

 4   discoverable documents by the Parties during the litigation. In the event of transfer to other courts,

 5   this Order will remain in effect in all respects, until adopted by the transferee court or replaced by a

 6   successor agreement. This Order shall not enlarge, reduce, or otherwise affect the scope of discovery

 7   in this litigation as imposed by the Federal Rules of Civil Procedure, the Local Rules, and the

 8   Court’s orders, nor imply that discovery produced under the terms of this Order is properly

 9   discoverable, relevant, or admissible in this or in any other litigation. Subject to this Order, the
10   Parties’ objections and responses to requests for production of documents and interrogatories and

11   other discovery requests, and a binding Stipulated Protective Order (“Protective Order”), all

12   documents that are responsive to discovery requests and not designated as “privileged” shall be

13   produced in the manner provided herein. Nothing in this Order shall be interpreted to require

14   disclosure of materials that a Party contends are not discoverable or are protected from disclosure by

15   the attorney-client privilege, the attorney work product doctrine, or any other privilege that may be

16   applicable. Additionally, nothing in this Order shall be deemed to waive or limit any Party’s right to
17   object to the production of certain electronically stored information, or to move for an appropriate

18   order pursuant to the Federal Rules of Civil Procedure on the ground that the sources are not

19   reasonably accessible because of undue burden or cost or on the ground that there is good cause for

20   the documents’ production.

21           5.     Consistent with their obligations under applicable Federal Rules of Civil Procedure,

22   the Parties will attempt to resolve, in person, in writing (including e-mail) or by telephone, disputes

23   regarding the issues set forth herein prior to filing a motion with the Court, or otherwise seeking

24   relief. If the Parties are unable to resolve the dispute after a good faith effort, the Parties may seek

25   Court intervention in accordance with the Court’s procedures.

26   V.      PRESERVATION
27           1.     The Parties acknowledge that they have an obligation to take reasonable and

28   proportional steps to preserve discoverable information in the Party’s possession, custody or control.
                                                       2
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                          CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC             Document 96         Filed 04/08/25      Page 4 of 15



 1          2.       The Parties agree that data, including Protected Material, as defined in the Protective

 2   Order, should be preserved for only the time for which this litigation is pending or is reasonably

 3   anticipated.

 4          3.       The Parties agree to exchange contemporaneously a list of ESI sources in their

 5   possession, custody, or control that may contain relevant information.

 6          4.       The Parties agree that the circumstances of this case do not warrant the preservation,

 7   collection, review, or production of the following sources of ESI because they are either not reasonably

 8   accessible or not likely to contain additional relevant information from other sources whereby the

 9   associated burden and costs outweigh any benefit:
10                   a.     Data maintained or duplicated in any electronic backup system, unless unique,

11   likely responsive data is unable to be collected in any of the agreed upon ESI data sources. If either

12   Party believes backups are required for a particular data source, the Parties agree to meet and confer

13   to discuss the costs, benefits, and proportionality of this potential collection.

14                   b.     Deleted, shadowed, damaged, residual, slack, fragmented, or other data only

15   accessible by forensics and “unallocated” space on hard drives.

16                   c.     Data stored in random access memory (“RAM”), temporary files, or other
17   ephemeral data that is difficult to preserve without disabling operating systems.

18                   d.     On-line access data such as temporary internet files, history, cache files,

19   cookies, and the like, wherever located.

20                   e.     Data stored on photocopiers, scanners and fax machines.

21                   f.     Data in metadata fields that are frequently updated automatically, such as last-

22   opened dates.

23                   g.     Server, system or network logs.

24                   h.     Logs of calls made from cellular or land-line phones including voicemails.

25                   i.     Legacy data or data remaining from systems no longer in use that is

26   unintelligible on the systems in use.
27                   j.     Computer programs, operating systems, computer activity logs, programming

28   notes or instructions, batch files, system files, and miscellaneous files or file fragments.
                                                          3
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                            CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC              Document 96      Filed 04/08/25      Page 5 of 15



 1                  k.      Other forms of ESI whose preservation requires extraordinary affirmative

 2   measures that are not utilized in the ordinary course of business

 3   VI.    IDENTIFICATION, COLLECTION, AND SEARCH OF DOCUMENTS

 4          1.      Except as otherwise agreed upon in this Order, the Parties will meet and confer in an

 5   effort to agree upon the following:

 6                  a)      List of records custodians;

 7                  b)      Search methodology to be applied, including, but not limited to, search terms

 8   and date restrictions; and

 9                  c)      Location of relevant data sources including custodial and non-custodial.
10                  d)      Access to Protected Material and the means by which the Parties agree to

11   preserve and collect relevant, unique, non-personal information.

12          2.      Search Methodology:

13                  a)      Email and Non-Email: the Parties agree to search for and produce unique,
14   responsive records from sources of accessible hard copy and ESI and such data is within the
15   possession, custody or control of the Producing Party.

16                  b)      The mere fact that a document is hit or captured by the application of any
17   agreed upon search terms does not mean that such document is necessarily responsive to any
18   propounded discovery request or is otherwise relevant to this litigation. Determinations of
19   discoverability, responsiveness and privilege shall be made by the Producing Party.
20                  c)      The Parties recognize the availability of a variety of search tools and
21   methodologies, including but not limited to TAR or AI-based analytics tools. If the Producing Party
22   intends to use TAR or similar advanced analytics for its review and production, the parties agree to

23   meet and confer in good faith to attempt to reach agreement about the appropriate disclosures,
24   technology and process that a Producing Party proposes to use to identify responsive ESI and a
25   statistically sound methodology to assess the effectiveness of the tool and processes in identifying
26   responsive documents.
27          If the Parties cannot resolve any dispute regarding this section, consistent with The Sedona
28   Conference Principles, Principle 6, the responding party is best suited to evaluate the procedures,
                                                       4
      STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                          CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC             Document 96        Filed 04/08/25      Page 6 of 15



 1   methodologies, and technologies appropriate for preserving and producing their own electronically

 2   stored information.

 3   VII.   PRODUCTION FORMAT – HARDCOPY

 4          At the Producing Party’s discretion, hardcopy documents should be scanned in as PDF

 5   format or single-page, Group IV, 300 DPI TIFF images with an .opt image cross-reference file and a

 6   delimited database load file (i.e., .dat). The database load file should contain the following fields:

 7   “BEGNO,” “ENDNO,” “BEGATTACH,” “ENDATTACH,” “PAGES” and “CUSTODIAN.” The
 8   documents should be logically unitized (i.e., distinct documents should not be merged into a single

 9   record, and a single document should not be split into multiple records) and should be produced in
10   the order in which they are kept in the usual course of business. If an original document contains
11   relevant information in color necessary to understand the meaning or content of the document, the
12   document should be produced as single-page, 300 DPI with a minimum quality level of 75, 24-bit,
13   color JPG images. To the extent that the Producing Party OCR’s the document for its own benefit,
14   OCR should also be provided. The OCR software should maximize text quality over process speed.
15   Settings such as “auto-skewing” and “auto-rotation” should be turned on during the OCR process.

16   VIII. PRODUCTION FORMAT – ELECTRONICALLY STORED INFORMATION
17           Unless specifically addressed elsewhere in this protocol, electronically stored information
18   (“ESI”) should be produced as single-page, Group IV, 300 DPI TIFF images with the exception of
19   source code, audio, video, and spreadsheet-type files, including, but not limited to, Microsoft
20   Excel, CSV – which should be produced in native format. All ESI should be produced with a
21   delimited, database load file that contains the metadata fields listed in Appendix 1, attached hereto,
22   to the extent captured at the time of the collection. To the extent that metadata does not exist, is

23   not reasonably accessible or available for any documents produced or would be burdensome to
24   provide, nothing in this Order shall require any Party to extract, capture, collect or produce such
25   data. The Parties agree that certain documents identified and collected as part of a targeted
26   collection that originated as ESI may be produced without metadata but compliant with Section II.
27   An .opt image cross-reference file should also be provided for all TIFF images. Specifications for
28   the load files are listed in Appendix 2.
                                                         5
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
         Case 3:24-cv-01304-MMC          Document 96        Filed 04/08/25      Page 7 of 15



 1           TIFF images should show any and all text and images which would be visible to the reader

 2   using the native software that created the document. For example, TIFF images of e-mail messages

 3   should include the BCC line. PowerPoint documents and Google Slides should be processed with

 4   hidden slides and all speaker notes unhidden, and should be processed to show both the slide and

 5   the speaker’s notes on the TIFF/JPG image.

 6           If a document is produced in native format1, a single-page Bates-stamped TIFF image slip-

 7   sheet containing the confidential designation and text stating the document has been produced in
 8   native format should also be provided. No native ESI items will be produced for redacted items,

 9   except when producing redacted TIFF images is not technically reasonable or for native
10   spreadsheets redacted using a native redaction tool. If documents requested in native format require
11   redactions and reasonably cannot be produced in TIFF, the Parties should meet and confer
12   regarding how to implement redactions while ensuring that proper formatting and usability are
13   maintained. Each native file should be named according to the Bates number it has been assigned,
14   and should be linked directly to its corresponding record in the load file using the NATIVELINK
15   field. To the extent that either Party believes that native files should be produced for a specific

16   document or class of documents not required to be produced in native format pursuant to this
17   paragraph or to the extent records do not easily conform to native or TIFF format (i.e., structured
18   data), the Parties should meet and confer in good faith.
19          Each Party reserves the right to request native versions of electronic documents as collected
20   (except for the file types identified herein which must be produced natively) or documents that
21   originated in color that are difficult to review or understand when produced in the format specified
22   herein. No Party will unreasonably deny any such request made according to the following protocol:
                   x The Requesting Party shall make any such request as soon as reasonably practicable
23
                       after receiving a document production.
24
                    x   The Requesting Party shall provide a list of Bates numbers of the documents and
25                      the reason that it is requesting to be produced in native format.

26
     1
       The Parties agree that Google Slides are converted to Microsoft Office format upon ingestion in
27   industry standard review tools, that any native production of these items will not be in the form of
     the original Slide, but that such natives include all data, metadata, and extracted text found in the
28   originating document.
                                                          6
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                            CASE NO. 3:24-CV-01304-MMC
          Case 3:24-cv-01304-MMC         Document 96         Filed 04/08/25     Page 8 of 15



 1                  x   Within seven (7) days of receiving such a request, the Producing Party will either
                        (i) produce the requested native files to the extent reasonably practicable, or (ii)
 2                      respond in writing, setting forth its position on the production of the requested
 3                      documents.

 4                  x   If the Parties are unable to agree as to the production of the requested documents in
                        native or color format, either Party may submit the matter to the Court.
 5
                    x   Wholesale or categorical requests by category or file type are deemed invalid.
 6

 7   In no event shall such a request require a Party to provide direct access to native systems.
 8   IX.     PREVIOUSLY COLLECTED AND PRODUCED DATA
 9           The Parties agree that there is no obligation to recollect any prior collections or reproduce
10   any prior productions collected or produced before the entry of this ESI Order. This includes not
11   requiring either Party to reproduce productions in the production format outlined in this ESI Order.
12   X.      PRODUCTION FORMAT – STRUCTURED DATA
13           To the extent a response to a non-objectionable discovery request requires production of
14   discoverable electronic information contained in a database, the Parties will meet and confer to
15   discuss the most appropriate and cost-effective production format, which may include an export of
16   data.
17   XI.     PRODUCTION FORMAT – SLACK MESSAGES
18           To the extent a response to a non-objectionable discovery request requires production of
19   Slack messages, a Party shall take reasonable steps to produce such messages in TIFF image format
20   in a manner that preserves the context of the communication by producing messages within the same
21   24 hour day.
22   XII.    PRODUCTION FORMAT – TEXT MESSAGES
23           Mobile text messages may be produced by capturing information through “screen shots” or
24   “screen captures” and converting same into images along with corresponding extracted text or OCR,
25   along with associated metadata (sender, recipient, date, and time); OR in a single excel document
26   with the appropriate text and the following metadata fields:
27                  x       Service (iMessage / SMS)
28
                                                         7
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC             Document 96       Filed 04/08/25      Page 9 of 15



 1                  x       Direction (incoming / outgoing)

 2                  x       Date

 3                  x       Content

 4                  x       Sender

 5                  x       Participant

 6                  x       Attachments (Count of Attachments)

 7                  x       Date Read

 8                  x       Date Delivered

 9   XIII. PRODUCTION FORMAT – MEDIA
10          Documents shall be exchanged through secure file transfer protocols (e.g., FTP) or similar

11   secure electronic transmission. If a Producing Party encrypts or “locks” the production, the

12   Producing Party shall send, under separate cover, an explanation of how to decrypt the files.

13   XIV. PROCESSING AND OTHER SPECIFICATIONS

14          1.      Bates Numbering and Confidentiality Designations: Each page of a produced image

15   shall have a legible, unique Bates number that includes an alpha prefix along with a fixed number, i.e.,

16   ABC00000001, electronically “burned” onto the image at a location that does not unreasonably
17   obliterate or obscure any information from the source document. Each image page or native file
18   assigned a Bates number shall be assigned a Bates number that is unique, sequential and maintains a
19   constant length across the entire document production. If a Bates number or set of Bates numbers is
20   skipped in a production, the Producing Party will so note in a cover letter or production log
21   accompanying the production. No other legend or stamp will be placed on the document image other
22   than confidentiality legends (where applicable) or redactions.

23          2.      ESI Date and Time Processing: Each Party’s ESI should be processed using a consistent
24   Time Zone for all data. The Party shall share the Time Zone selected for processing of its data with
25   the other Party.
26          3.      Global or Horizontal Deduplication: Removal of duplicate documents should only be
27   done on exact duplicate documents at the family level (based on MD5 or SHA-1 hash values or near
28   duplicate analysis where documents are 100% textual matches but due to underlying data sources or
                                                    8
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                       CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC             Document 96        Filed 04/08/25       Page 10 of 15



 1   differences in processing over time the hash values do not match). Attachments should not be

 2   eliminated as duplicates for purposes of production, unless the parent e-mail and all attachments are

 3   also duplicates. When applying global deduplication, metadata identifying all custodians in possession

 4   of each document that is removed as a duplicate must be provided in the CUSTODIAN metadata field

 5   subject to any exceptions provided in this Order.

 6            4.    Email Thread Suppression: Each Party may suppress e-mails in such a way as to

 7   eliminate earlier or incomplete chains of e-mails and redundant attachments and produce only the most
 8   complete iteration of an e-mail chain. Each Party shall preserve family relationships when engaging

 9   in email thread suppression. In instances where an earlier or incomplete email chain contains a unique
10   attachment that earlier email chain and its unique attachment shall not be suppressed. For purposes of
11   this paragraph, only email messages in which the parent document, senders and recipients, and all
12   attachments are exactly the same will be considered duplicates.
13            5.    Embedded Objects: Some Microsoft Office and .RTF files may contain embedded
14   objects. Such objects typically are the following file types: Microsoft Excel, Word, PowerPoint,
15   Project, Outlook, Access and PDF. Subject to claims of privilege and immunity, as applicable, objects

16   with those identified file types shall be extracted as separate files and shall be produced as attachments
17   to the file in which they were embedded unless otherwise subject to an exception provided within this
18   Order.
19            6.    Hyperlinked Google Workspace Documents:              The Parties agree that hyperlinked
20   documents are not attachments and will not be treated as such. If a receiving party determines that a
21   hyperlinked document from a produced document is needed a request for the hyperlinked document
22   may be made. The producing party will consider reasonable requests for hyperlinked documents

23   within its Google Workspace and produce any non-privileged, responsive Google Workspace material
24   in response. The producing party will produce the version of these documents as they exist at the time
25   they are collected, which is how they are stored in the ordinary course of business.
26            The Parties agree that historical versions of Google Workspace documents are not easily
27   accessed. If the receiving party believes that production of a historical version is required, the receiving
28   party must meet and confer with the producing party, and must establish a specific reason why the
                                                    9
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                       CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC            Document 96         Filed 04/08/25      Page 11 of 15



 1   historical version is relevant to the claims or defenses in the case, and why the version as collected

 2   with its accompanying metadata is insufficient.

 3          7.      Compressed Files: Compressed file types (i.e., .CAB, .GZ, .TAR. .Z, .ZIP) shall be

 4   decompressed in a reiterative manner to ensure that a zip within a zip is decompressed into the lowest
 5   possible compression resulting in individual files.
 6          8.       Redactions: The Producing Party can redact documents for privilege or otherwise
 7   Protected Material, and “Personally Identifiable Information," "Sensitive Private Data," or "Nonpublic
 8   Personal Information" as these terms are defined under federal, state or foreign data protection laws.

 9   The Producing Party may also redact proprietary source code, if such code appears in any document
10   to be produced, and identify those redactions as being for such code. If, during the course of discovery,
11   the Parties identify other kinds of information that any Party has a reasonable basis for redacting, the
12   Parties will meet and confer regarding it before such redactions are made. If the issue cannot be
13   resolved, the Parties will seek resolution from the Court.
14          When a document is redacted, the document will be produced in TIFF image unless
15   otherwise agreed to by the Parties (e.g., if a native document that requires redaction is difficult to

16   convert to TIFF or is not reasonably usable when converted to TIFF format, the Producing Party can
17   redact in native format). The TIFF image for a document produced in redacted form will include a
18   label identifying the redacted area of the document and reason for redaction. For redacted items that
19   were originally ESI, non-redacted metadata fields will be provided.
20          If during the course of litigation, a data subject with privacy rights pursuant to the Data
21   Protection Laws identified in the Protective Order exercises his or her right to erasure of personal
22   data contained within the previously produced Protected Material, the Producing Party shall furnish

23   newly redacted versions of the Protected Material within a reasonable time. The Requesting Party
24   will promptly destroy the original version of the Protected Material and replace it with the redacted
25   version. The Producing Party may also require the entire document destroyed and replaced with a
26   slip-sheet indicating the Protected Material is subject to erasure pursuant to the applicable Data
27   Protection Law.
28
                                                        10
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC               Document 96        Filed 04/08/25     Page 12 of 15



 1           9.       No Designation of Discovery Requests: Production of hard copy documents and ESI

 2   in the reasonably usable form set out in this Order need not include any reference to the requests to

 3   which a document or ESI may be responsive.

 4           10.      Foreign Language Documents: To the extent that documents or ESI are produced that

 5   contain languages other than English, in whole or in part, the Producing Party shall produce all foreign
 6   language documents and ESI in the original language. The Producing Party has no obligation to
 7   provide a translation of the documents or ESI or any portion thereof.
 8   XV.     PRIVILEGE AND PRIVILEGE LOGS

 9           1.       If a party withholds material as privileged, see Fed. R. Civ. P. 26(b)(5), it must produce
10   a privilege log that is sufficiently detailed for the opposing party to assess whether the assertion of
11   privilege is justified.
12           2.       Privilege logs must contain the following:
13                    a)       the title and description of the document, the number of pages, and the Bates-
14   number range, if any;
15                    b)       the subject matter or general nature of the communication (without disclosing

16   its contents);
17                    c)       the identity and position of its author;
18                    d)       the date of the communication;
19                    e)       the identity and position of the recipients of the communication;
20                    f)       the location where the document was found;
21                    g)       the specific basis for the assertion that the document is privileged or protected
22   (including a brief summary of any supporting facts); and

23                    h)       the steps taken to ensure the confidentiality of the communication, including an
24   affirmation that no unauthorized persons received the communication.
25   XVI. THIRD PARTY DOCUMENTS
26           A Party that issues a non-Party subpoena (“Issuing Party”) shall include a copy of this Order
27   with the subpoena and state that the Parties to the litigation have requested that third Parties produce
28   ESI, if any, in accordance with the specifications set forth herein where reasonably practicable. The
                                                        11
      STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                          CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC            Document 96         Filed 04/08/25     Page 13 of 15



 1   Issuing Party shall produce any documents obtained pursuant to a non-Party subpoena to the

 2   opposing Party. Nothing in this Order is intended or may be interpreted to narrow, expand, or

 3   otherwise affect the rights of the Parties or third parties to object to a subpoena. Nor is this Order

 4   intended to suggest that a non-Party has, should, or will provide ESI.

 5   XVII. GOOD FAITH

 6          The Parties shall make their best efforts to comply with and resolve any differences

 7   concerning compliance with this Order. If a Producing Party cannot comply with any material

 8   aspect of this Order, such Party shall inform the Requesting Party as to why compliance with the

 9   Order was unreasonable or not possible within ten (10) days after so learning. No Party may seek
10   relief from the Court concerning compliance with the Order unless it has conferred with other

11   affected Parties to the action.

12   XVIII. NO EFFECT ON DISCOVERY OR ADMISSIBILITY

13          This Order does not address, limit, or determine the relevance, discoverability, agreement to

14   produce, or admissibility of ESI. The Parties are not waiving the right to seek any discovery, and the

15   Parties are not waiving any objections to specific discovery requests. Nothing in this Order shall be

16   interpreted to require disclosure of materials that a Party contends are not discoverable or are
17   protected from disclosure by the attorney-client privilege, the work product doctrine, or any other

18   privilege that may be applicable. Nothing in this Order shall be construed to affect the admissibility

19   of any document or data. All objections to the admissibility of any document or data, except as to

20   the authenticity of the documents produced by a Party as to which that Party stipulates, are preserved

21   and may be asserted at any time.

22   XIX. COSTS AND BURDEN

23          The Parties agree that the burdens placed on them during this litigation, including during

24   discovery, must be proportional to the litigation itself, including the nature of the claims and the

25   amount in controversy. See Fed. R. Civ. P. 1, Fed. R. Civ. P. 26(b)(2)(C). All Parties reserve the

26   right to seek shifting or sharing of certain discovery costs, including vendor and attorney fees, in
27   appropriate circumstances.

28   XX.    AUTHENTICITY
                                                        12
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC            Document 96        Filed 04/08/25     Page 14 of 15



 1          A document produced in this litigation shall be presumed to be authentic if offered as

 2   evidence against the Party that produced it unless the Party (a) gave notice at the time of production

 3   that the authenticity of the document may be challenged, including the reasons for such a challenge;

 4   or (b) shows good cause for its failure to give such notice at the time of production.

 5          When documents produced in accordance with this Order are used in any proceeding herein,

 6   including depositions, hearings, or trial, the image copy of documents shall be the copy used.

 7   Extracted text files shall not be used in any proceeding as a substitute for the image of any

 8   document. This paragraph does not apply to any Federal Rule of Evidence 1006 summary exhibits

 9   or summary demonstratives.
10   XXI. PROTECTIVE ORDER

11          Nothing in this Order shall be deemed to limit, modify, or override any provision of the

12   Protective Order.

13   XXII. ROLLING PRODUCTIONS

14          The Parties understand that this Order contemplates rolling productions of documents, and

15   they acknowledge that nothing in this Order waives, restricts, or eliminates the Parties’ respective

16   rolling production obligations, the Parties’ respective supplementation obligations prescribed in the
17   Federal Rules of Civil Procedure, or the Parties’ 502(d) obligations, and other obligations pursuant

18   to the Agreed Protective Order entered in this case.

19   XII.   DISCOVERY DEFICIENCY

20          If the Requesting Party has good cause to believe that the Producing Party’s discovery efforts

21   have been deficient, the Parties will meet and confer with the goal of identifying a means by which

22   the Producing Party can provide assurances of the reasonableness of its discovery efforts.

23          1. As used in this section, “good cause” requires more than mere speculation; the Requesting

24   Party must offer some concrete evidence of a deficiency in the Producing Party’s discovery process

25   and explain their reasons for believing that additional efforts are reasonable and proportional.

26          2. Upon a showing of good cause, the Parties will meet and confer to consider appropriate
27   means to assess the reasonableness of a Producing Party’s discovery efforts, or to identify additional

28   production criteria to cure the deficiency.
                                                       13
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
       Case 3:24-cv-01304-MMC            Document 96         Filed 04/08/25     Page 15 of 15



 1          3. If the Parties are unable to agree upon a means by which the Producing Party can provide

 2   assurances of the reasonableness of its discovery efforts, the Parties will submit the dispute to the

 3   Court in the form of a joint discovery letter.

 4   XXIII. MODIFICATION

 5          This Order may be modified by mutual agreement of the Parties.

 6

 7   IT IS SO STIPULATED, through Counsel of Record.

 8
       Dated:                                            /s/ Sheila A.G. Armbrust
 9
                                                           Sheila A.G. Armbrust
10                                                         Counsel for Plaintiffs

11     Dated:                                              /s/ Abbey M. Glenn
                                                             Abbey M. Glenn
12                                                        Counsel for Defendants
13

14          IT IS ORDERED that the foregoing Agreement is approved.

15

16    Dated: April 8, 2025
17                                          UNITED
                                               TED
                                                 DSSTATES
                                                    T TES DISTRICT/MAGISTRA
                                                    TA    DISTRICT/MAGISTRATE
                                                                         RAT
                                                                           T JUDGE
18

19

20

21

22

23

24

25

26
27

28
                                                        14
       STIPULATION AND [PROPOSED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED INFORMATION,
                                     CASE NO. 3:24-CV-01304-MMC
